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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


  UNITED STATES OF AMERICA,
                                                    CR 20-70-BLG-SPW
                       Plaintiff,

  vs.                                                ORDER

  DONALD RAY GARDNER,

                       Defendant.

        IT IS HEREBY ORDERED that all parties in the trial of the above-matter,

including counsel, jurors, witnesses, court staff and spectators shall be required to

wear a mask throughout the proceedings in this matter, which are set to begin on

Monday, October 18, 2021 at 9:00 a.m. The parties shall wear a mask upon

entering the James F. Battin U.S. Courthouse.

        The Clerk of Court is directed to notify counsel and the Court Security

Officers of the making of this Order.

        DATED this 15th day of October, 2021.



                                               SUSAN P. WATTERS
                                               United States District Judge




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